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                         N ORTHERN D ISTR IC T O F I LLINO IS


A.D., et al,                                  Case No. 1:14-cv-10106

               v.

Credit One Bank, N.A.


                               Stipulation of Dismissal

       IT IS HEREBY STIPULATED between Plaintiff A.D. (“Plaintiff”) and Defendant
Credit One Bank, N.A. (“Defendant”) through their respective counsel of record, that the
above-entitled action shall be dismissed in its entirety as to Plaintiff’s claims with
prejudice, and without prejudice as to the putative class members’ claims pursuant to
Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Each party shall bear its
own costs and expenses.



Dated:     June 26, 2018.               Law Offices of Roberto Robledo
                                        /s/ Roberto Robledo
                                        Attorneys for Plaintiff A.D., on behalf of
                                        herself and all others similarly situated
                                        Roberto Robledo (260041)
                                        roberto@robertorobledo.com
                                        9845 Erma Road, Suite 300
                                        San Diego, CA 92131
                                        619 500-6683


Dated:     June 26, 2018.               Reed Smith LLP
                                        /s/ James A. Rolfes
                                        Attorneys for Defendant, Credit One Bank,
                                        N.A.
                                        James A. Rolfes
                                        jrolfes@reedsmith.com
                                        10 South Wacker Drive, 40th Floor
                                        Chicago, IL 60606
                                        312 207-3872
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                                Certificate of Service

       I hereby certify that on June 26, 2018, I electronically filed the above and
foregoing through the Court’s CM/ECF System, which perfected service on all counsel of
record.

                                           /s/ Roberto Robledo
